 Case: 4:23-cv-00207-HEA     Doc. #: 186 Filed: 03/07/25      Page: 1 of 3 PageID #:
                                       3402



                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MISSOURI
                            EASTERN DIVISION


ARINDAM KAR, et al.,                      )
                                          )
             Plaintiffs,                  )
                                          )
      v.                                  )         No. 4:23-CV-207 HEA
                                          )
SAFECO INSURANCE COMPANY                  )
OF AMERICA, et al.                        )
                                          )
             Defendants.                  )

                   OPINION, MEMORANDUM AND ORDER

      This matter is before the Court on non-party Andrea Polo-McCullough’s

Motion to Quash Subpoena for Deposition pursuant to Rule 45 of the Federal Rules

of Civil Procedure. (ECF No. 180). Plaintiffs served Ms. Polo-McCullough with a

subpoena to testify at a deposition on March 10, 2025, and to produce certain

documents.

      Federal Rule of Civil Procedure 45 governs the issuance of non-party

subpoenas in civil actions pending in the federal courts. In general, a party “may

obtain discovery regarding any nonprivileged matter that is relevant to any party’s

claim or defense and proportional to the needs of the case.” Fed. R. Civ. P. 26(b)(1).

The scope of discovery allowed under Rule 45 is the same as that of Rule 26. See

Advisory Committee Notes regarding 1991 Amendments to Rule 45(a)(2) (stating a
 Case: 4:23-cv-00207-HEA     Doc. #: 186 Filed: 03/07/25     Page: 2 of 3 PageID #:
                                       3403



“non-party witness is subject to the same scope of discovery under this rule as that

person would be as a party to whom a request is addressed pursuant to Rule 34.”).

That said, non-parties should not be burdened to the same extent as parties to the

litigation. Therefore, the rule requires that “[a] party or attorney responsible for

issuing and serving a subpoena must take reasonable steps to avoid imposing undue

burden or expense on a person subject to the subpoena.” Fed. R. Civ. P. 45(d)(1).

      In this suit, Defendant Safeco Insurance Company of America (“Safeco”) has

used affidavits executed by Ms. Polo-McCullough in support of its arguments that a

number of Plaintiffs’ document requests, interrogatories, and notices of deposition

were overly burdensome. See, e.g. ECF No. 171, Ex. D. Ms. Polo-McCullough,

however, is not a Safeco employee. She is “Manager, Coverage Litigation Services”

at Liberty Mutual Group. Id. at 1. But Ms. Polo-McCullough has attested that she

has knowledge of the record keeping systems used by both Liberty Mutual Insurance

Group and Safeco, including data points and search capabilities. In her affidavits,

Ms. Polo-McCullough provided specific attestations about Safeco’s ability to search

its systems for the information Plaintiffs sought in their written discovery and

through depositions. While Ms. Polo-McCullough may not have knowledge about

how Safeco handled Plaintiffs’ insurance claim specifically, clearly she has

knowledge that is relevant to this suit. Gowan v. Mid Century Ins. Co., 309 F.R.D.

503, 515 (D.S.D. 2015) (finding in an insurance dispute that information about the



                                         2
 Case: 4:23-cv-00207-HEA       Doc. #: 186 Filed: 03/07/25      Page: 3 of 3 PageID #:
                                         3404



defendant’s electronic information system, what was stored, where it was stored, and

how to access the information was “obviously relevant information”).

      Furthermore, although Ms. Polo-McCullough is officially employed by a non-

party to this suit, it is clear that Safeco exercises some degree of control over her, as

she has executed a number of affidavits on Safeco’s behalf. The Court finds that

requiring Ms. Polo-McCullough to sit for deposition and to produce documents that

are in her possession, custody, or control that she relied upon or considered in

providing her affidavits would not be unduly burdensome to this third-party. The

motion to quash is denied.

      Accordingly,

      IT IS HEREBY ORDERED that non-party Andrea Polo-McCullough’s

Motion to Quash Subpoena for Deposition is DENIED. [ECF No. 180]

    Dated this 7th day of March, 2025.




                                               ________________________________
                                                  HENRY EDWARD AUTREY
                                               UNITED STATES DISTRICT JUDGE




                                           3
